                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

    PAMELA COLLINS,                                 )
                                                    )
          Plaintiff/Counter Defendant,              )
                                                    )
    vs.                                             ) Civil Action No. 3:10-cv-451
                                                    ) Phillips/Shirley
    PROGRESSIVE DIRECT                              )
    INSURANCE COMPANY,                              )
                                                    )
          Defendant/Counter Plaintiff.              )

                               MOTION FOR DEFAULT JUDGMENT

           Comes the Counter Plaintiff, by and through counsel, pursuant to Rule 55 of the Federal

    Rules of Civil Procedure and moves this Honorable Court for entry of a default judgment. In

    support of the Counter Plaintiff’s motion, the Counter Plaintiff would state that the Counter

    Complaint filed against the Counter Defendant was filed with this Court on October 28, 2010.

    The Counter Defendant has failed or has otherwise refused to file a responsive pleading to the

    Counter Complaint within the time prescribed by the Federal Rules of Civil Procedure.

           WHEREFORE, the Counter Plaintiff moves this Honorable Court for entry of a default

    judgment accordingly.


                                           Respectfully submitted,

                                           TRAMMELL, ADKINS & WARD, P.C.



                                           By      s/Terrill L. Adkins
                                                   Terrill L. Adkins, BPR #013138
                                                   Attorney for Counter Plaintiff
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                                                   865/330-2577



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                                     CERTIFICATE OF SERVICE

            I hereby certify that on 12-23-2010, a copy of the foregoing pleading was filed
    electronically. Notice of this filing will be sent by operation of the court’s electronic filing
    system to all parties indicated on the electronic filing receipt. All other parties will be served
    by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
    system.



                                           TRAMMELL, ADKINS & WARD, P.C.




                                           By      s/Terrill L. Adkins
                                                   Terrill L. Adkins




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